           Case 4:18-cv-00023-JEG-HCA Document 1 Filed 01/25/18 Page 1 of 4



                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF IOWA
                                      CENTRAL DIVISION


 ROBERT CLAUSS,
                                                         CASE No.__________________
                Plaintiff,

 vs.                                                     Case No. SCSC608580

 GULF COAST WESTERN, L.L.C.
                                                         NOTICE OF REMOVAL
                Defendant.



           Pursuant to 28 U.S.C. § 1446(a) and Fed.R.Civ.P. 81(c), defendant Gulf Coast Western,

L.L.C. hereby gives notice of removal of this civil action from the Iowa District Court for Polk

County (the “State Action”) to the United States District Court for the Southern District of Iowa,

Central Division, and in support thereof states as follows:

                                          I. INTRODUCTION

           1.      On or about July 17, 2013, plaintiff Robert Clauss filed suit in the Iowa District

Court for Polk County under Case No.SC608580. On or about December 20, 2017, the Iowa

Secretary of State received the Original Notice and Petition for Money Judgment against a

Nonresident Defendant or a Foreign Corporation Defendant and Appearance and Answer of

Defendant(s) (form). See Exhibits A, B. Defendant Gulf Coast Western, LLC actually received

Exhibits A and B on December 27, 2017. See Exhibit F attached hereto.

           2.      Copies of all process and pleadings served on Gulf Coast Western, LLC in this

action are attached and consist of the following:

           Exhibit A; Original Notice and Petition for Money Judgment against a Nonresident
           Defendant or a Foreign Corporation Defendant, including an affidavit marked as Exhibit
           A which contained an Attachment A;



#2926962
       Case 4:18-cv-00023-JEG-HCA Document 1 Filed 01/25/18 Page 2 of 4




       Exhibit B: Appearance and Answer of Defendant(s) (Blank Form);

       Exhibit C: Iowa Secretary of State certification of receipt;

       Exhibit D: Verification of Account Identification of Judgment Debtor, and Certificate Re
       Military Service;

       Exhibit E: Notice from the Polk County Clerk of the Iowa District Court regarding charge
       transactions sent to the Iowa Secretary of State;

       Exhibit F: United States Postal Service Letter; and

       Exhibit G: Polk county Clerk of Court Return Receipt (Electronic).

                                  II. NATURE OF THE SUIT

       3.      Plaintiff’s claim is based on alleged violations of the Telephone Consumer

Protection Act, 47 USC §§ 227 (TCPA), 16 CFR §310.4(b)(iii)(A), 48 CFR §64.1200(c)(2) and

seeks damages thereunder from Defendant along with court costs.

                                  III. BASIS FOR REMOVAL

       4.      This Court has original federal question jurisdiction over this action in that it is a

civil action founded on a claim or right arising under the laws of the United States. 28 U.S.C. §

1331, Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740, 753 181 L. Ed. 2d 881, 899

(2012). Therefore, removal pursuant to 28 U.S.C. § 1441 et seq. is proper here.

       5.      Venue is proper in this district under 28 U.S.C. § 1441(a) because this district and

division embrace the place in which the removed suit was pending.

       6.      The time within which Gulf Coast Western, LLC is required to file this Notice of

Removal has not yet expired. See 28 U.S.C. § 1446(b); See McCrary v. Kansas City Southern

R.R., 121 F.Supp.2d 566, 570 (E.D. Tex. 2000) (when service was effected on out-of-state

defendant by serving process on state secretary of state, removal period began when defendant

actually received process, not when statutory agent received process); Renaissance Marketing,
       Case 4:18-cv-00023-JEG-HCA Document 1 Filed 01/25/18 Page 3 of 4



Inc. v. Monitronics Intern., Inc., 606 F.Supp.2d 201, 206 (D. Puerto Rico 2009) (30-day statutory

time limit for filing notice of removal began running when foreign company actually received

the summons and complaint, rather than when the Secretary of State, as the company's statutory

agent for service of process, was served); Manuel v. Unum Life Ins. Co. of America, 932 F.Supp.

784 (W.D. La. 1996) (thirty-day period in which insurer could remove action against it to federal

court did not commence upon service of initial pleading upon Louisiana Secretary of State, but

rather, upon insurer's actual receipt of copy of that pleading).

       7.      Gulf Coast Western, LLC is the only named and served defendant in the suit.

       8.      Filed concurrently herewith is the Certification Pursuant to Local Rule 81.1

whereby Gulf Coast Western, LLC is providing the Court with the information required by that

Local Rule.

       9.      Defendant Gulf Coast Western, LLC will promptly file a Notice of Notice of

Removal with the Clerk of the state court in which the suit is pending pursuant to 28 U.S.C.

§1446(d).

       WHEREFORE, Defendant Gulf Coast Western, LLC prays that this Court accept this

Notice and that this proceed in this Court as an action properly removed.



                                             __/s/Stanley Thompson_____________________
                                             Stanley J. Thompson, AT0007811
                                             Davis, Brown, Koehn, Shors & Roberts, P.C.
                                             215 10th Street, Suite 1300
                                             Des Moines, Iowa 50309
                                             Telephone: (515) 288-2500
                                             Facsimile: (515) 243-0654
                                             E-mail: StanThompson@davisbrownlaw.com

                                             ATTORNEYS FOR DEFENDANT
     Case 4:18-cv-00023-JEG-HCA Document 1 Filed 01/25/18 Page 4 of 4




COPY TO:                                                   PROOF OF SERVICE
                                       The undersigned certifies that the foregoing instrument was
David A. Morse                         served upon all parties to the above cause to each of the attorneys
Law Offices of David A. Morse          of record herein at their respective addresses disclosed on the
1010 Insurance Exchange Building       pleadings on January 25, 2018, by:
Des Moines, IA 50309                            US Mail                      FAX
                                                Hand Delivered               Email
Telephone: (515) 243-7600                       Federal Express              Other: CM/ECF
Facsimile: (515) 243-0583
E-mail: dave@davemorselaw.com                           Signature: ___/s/Stanley Thompson_______


ATTORNEY FOR ROBERT CLAUSS
